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AO 441 (Rev. 07/10) Summons on Third-Party Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Southern District
                                                    __________  DistrictofofNew York
                                                                             __________

                  Humane Consumer LLC
                                                                    )
                             Plaintiff
                                                                    )
                                v.                                  )
                                                                            Civil Action No. 18-cv-5622 (PKC)
        COB ECOMMERCE EMPIRE LLC, et al.
                                                                    )
                 Defendant, Third-party plaintiff
                                                                    )
                                v.                                  )
                          Michael Kim
                      Third-party defendant
                                                                    )

                                         SUMMONS ON A THIRD-PARTY COMPLAINT

To: (Third-party defendant’s name and address) Michael Kim
                                                    42 West 24th Street
                                                    New York, N.Y. 10010




         A lawsuit has been filed against defendant COB ECOMMERCE EMPI, who as third-party plaintiff is making
this claim against you to pay part or all of what the defendant may owe to the plaintiff Humane Consumer LLC   .

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff and on the defendant an answer to the attached complaint or a
motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be served on the defendant or
defendant’s attorney, whose name and address are:
 Steven M. Richman
 Clark Hill PLC
 210 Carnegie Center, Suite 102; Princeton, N.J. 08540

         It must also be served on the plaintiff or plaintiff’s attorney, whose name and address are:
  Paul W. Siegert
  307 Fifth Avenue, 4th Floor
  New York, N.Y. 10016
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the third-party
complaint. You also must file the answer or motion with the court and serve it on any other parties.

         A copy of the plaintiff’s complaint is also attached. You may – but are not required to – respond to it.

Date:          10/01/2018
                                                                             CLERK OF COURT

                                                                                                 /S/ V. FRROKAJ
                                                                                          Signature of Clerk or Deputy Clerk
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 Civil Action No. 18-cv-5622 (PKC)

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                           .

          ’ I personally served the summons on the individual at (place)
                                                                                   on (date)                           ; or

          ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          on (date)                                , and mailed a copy to the individual’s last known address; or

          ’ I served the summons on (name of individual)                                                                         , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                   on (date)                           ; or

          ’ I returned the summons unexecuted because                                                                                  ; or

          ’ Other (specify):
                                                                                                                                            .

           My fees are $                          for travel and $                    for services, for a total of $          0.00          .

           I declare under penalty of perjury that this information is true.



 Date:
                                                                                           Server’s signature



                                                                                         Printed name and title




                                                                                               Server’s address

 Additional information regarding attempted service, etc:




          Print                       Save As...                Add Attachment                                                Reset
